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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA, et al.,

                     Plaintiffs,

 v.                                                   Case No. 1:23-cv-10511-WGY

 JETBLUE AIRWAYS CORPORATION and
 SPIRIT AIRLINES, INC.,

                     Defendants.


               PLAINTIFFS’ NOTICE OF SUPPLEMENTAL AUTHORITY

       Plaintiffs respectfully file this Notice of Supplemental Authority to inform the Court of

the recent decision by the U.S. District Court for the Southern District of New York in Federal

Trade Commission v. IQVIA Holdings Inc. and Propel Media, Inc., No. 23 Civ. 06188, 2024 WL

81232 (S.D.N.Y. Jan. 8, 2024), attached hereto as Exhibit A. The court granted the FTC’s

request for a preliminary injunction against the proposed merger, holding the FTC was likely to

succeed on the merits of its challenge. Id. at *51, 53.

       Of particular salience to this case are pages 43-53 of the IQVIA opinion, which set forth

and apply the legal standards applicable to merging parties’ rebuttal after the plaintiff has met its

prima facie burden. Id. at *43-53. In particular, although the court agreed that the industry at

issue is “dynamic and fast-moving,” the court rejected the defendants’ argument that “a static

snapshot of market shares” and concentrations was not a reliable indicator of the merger’s

probable effect on competition. Id. at 43-44. In so holding, the court credited the argument that

“more recent revenues are going to be more informative about what is going to happen in the

future” and that “[w]hile there may be new entrants into the market going forward, that does not

necessarily compel the conclusion that current market shares are unreliable.” Id. at *44; see also
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id. at *46 (“But even if Defendants are operating in a dynamic industry, they have nonetheless

failed to ‘present evidence that the evolving nature of the market itself precludes the merger’s

likely anticompetitive effects,’ or a court’s ability to analyze the same.” (citation omitted)).

       The court similarly rejected the defendants’ “weakened competitor” defense, noting it “is

among the weakest grounds for rebuttal,” id. at *45, and dismissed the defendants’ arguments

that entry by other companies would be timely, likely, and sufficient to offset anticompetitive

effects, id. at *46-48. The court also rejected the defendants’ purported efficiencies defense,

which included an argument that “the merger would help IQVIA ‘compete with larger firms’”

because the defendants did not “overcome the high bar” of offsetting “the anticompetitive

concerns in highly concentrated markets.” Id. at *49-51.




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Dated: January 11, 2023           Respectfully submitted,

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                                  Columbia, and on behalf of all Plaintiffs




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                                CERTIFICATE OF SERVICE

       I hereby certify that the foregoing document, which was filed with the Court through the

CM/ECF system, will be sent electronically to all registered participants as identified on the

Notice of Electronic Filing.

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